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     1Bruce Locke (#177787)

     Moss & Locke

 2   701 University Ave, Ste 100

 3   Sacramento, CA 95825

 4   916-569-0667

 5   Attorneys for Paul Chan

 6                                       UNITED STATES DISTRICT COURT
 7                                 EASTERN DISTRICT OF CALIFORNIA
 8

 9

10          United States,
                                                            No. 2:96-CR-350 WBS
11                                Plaintiff,

12                  v.                              STIPULATION AND ORDER FOR

13          Paul Chan, et. al,.                     EXONERATION OF BOND AND RETURN

14                                Defendants.       OF SECURITY AND PASSPORTS

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20          In 1996, Paul Chan, also known as Ung Luong, and his two sisters, Ping Sherry Chan,

21   also known as Sau Luong, and Lisa Le Chan, also known as Sy Luong, were each released on

22   $50,000 secured appearance bonds. The release of the three defendants was secured by a

23   residential property located at 8201 White Sands Way, Sacramento, California, 95828. A copy of

24   the Deed of Trust was filed in this proceeding at Docket Number 55.

25
            As part of their release conditions, Ping Sherry Chan and Lisa Le Chan surrendered their
26
     passports. Docket Entries 34 and 35.
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28                                                      1
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     1       Because the Court has dismissed the case against Paul Chan, Ping Sherry Chan, and Lisa

     Le Chan, there remains no need to the secured bonds or for the Court to retain the passports.

 2   Therefore, it is stipulated that secured bonds for Paul Chan, Ping Sherry Chan, and Lisa Le Chan

 3   should be exonerated and that the Court should reconvey the security interest, to wit, the deeds of

 4   trust by mailing the reconveyance to Bruce Locke at Moss & Locke, 701 University Avenue, Ste

 5   100, Sacramento, CA 95825. It is further stipulated that the United States passports of Ping

 6   Sherry Chan and Lisa Le Chan, if in the possession of the Clerk of the Court, be returned to them

 7   by mailing the passports to Bruce Locke at Moss & Locke, 701 University Avenue, Ste 100,

 8   Sacramento, CA 95825.

 9
     Date: September 11, 2015                                       /S/ Bruce Locke
10                                                                 BRUCE LOCKE
                                                                   Attorney for Paul Chan
11

12

13   Date: September 11, 2015                                       /S/ Bruce Locke________
                                                                   For GAIL SHIFMAN
14                                                                 Attorney for Lisa Le Chan
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16

17   Date: September 11, 2015                                       /S/ Bruce Locke________
                                                                   For Randolph Daar
18                                                                 Attorney for Ping Sherry Chan
19
20

21   Date: September 11, 2015                                       /S/ Bruce Locke________
                                                                   For WILLIAM WONG
22                                                                 Assistant United States Attorney
23

24                                                     ORDER
25           GOOD CAUSE APPEARING, and pursuant to the above stipulation, the secured bonds of
26   Paul Chan, Ping Sherry Chan, and Lisa Le Chan are hereby exonerated. The Clerk of the Court is

27   directed forthwith to reconvey the security interests, to wit, the deeds of trust, to Paul Chan, also

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     1known as Ung Luong, Ping Sherry Chan, also known as Sau Luong, Lisa Le Chan, also known as

      Sy Luong, by mailing the reconveyance to their attorney, Bruce Locke at Moss & Locke, 701

 2    University Avenue, Ste 100, Sacramento, CA 95825. Ping Sherry Chan’s and Lisa Le Chan’s

 3    passports, if in the possession of the Court, are also to be returned in the same manner. The

 4    September 21, 2015 Motion to Exonerate Bond is vacated.

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             Dated: September 14, 2015
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